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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: March 08, 2023.

                                                           ________________________________________
                                                                      MICHAEL M. PARKER
                                                              UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________

                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

  IN RE:                              §           CASE NO. 22-50946-MMP
                                      §
  LISA MARIE GARZA                    §
                                      §
  DEBTOR                              §           CHAPTER 7 CASE
  ______________________________________________________________________________

                           ORDER GRANTING,13$57
         MOTION FOR AN ORDER, PURSUANT TO BANKRUPTCY RULE 9018
    AND SECTION 107(b) OF THE BANKRUPTY CODE, AUTHORIZING CHAPTER 7
     TRUSTEE TO FILE CONFIDENTIAL SETTLEMENT AGREEMENT BETWEEN
       NATIONAL DEBT RELIEF, LLC AND LISA MARIE GARZA UNDER SEAL
  ______________________________________________________________________________

           The Court has considered the Motion for an Order, Pursuant to Bankruptcy Rule 9018

  and Section 107(b) of the Bankruptcy Code, Authorizing Chapter 7 Trustee to File Confidential

  Settlement Agreement between National Debt Relief, LLC and Lisa Marie Garza Under Seal (the

  “Motion”). The Court, having considered the Motion, the responses, if any, the documents,

  motions, and pleadings on file, and arguments of counsel, if any, is of the opinion that the

  Motion is meritorious and that good cause exists and should be GRANTED,13$57.

           THEREFORE IT IS ORDERED that the Motion is hereby GRANTED,13$57;
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         IT IS FURTHER ORDERED that the Confidential Settlement Agreement will be filed

  RQO\ for review in camera by this Court.

         IT IS FURTHER ORDERED that the &RQILGHQWLDO6HWWOHPHQW$JUHHPHQW shall remain

  XQGHU LQFDPHUD UHYLHZfor no longer than WKLUW\GD\V from the date of entry of the order, unless

  the Court orders otherwise.

         IT IS FURTHER ORDERED that any evidence and testimony taken concerning the

  Confidential Settlement Agreement in relation to the Motion to Ratify Compromise and

  Settlement between National Debt Relief, LLC and Lisa Marie Garza (Dkt #26) will UHPDLQ

  XQGHULQFDPHUDUHYLHZDQGH[FOXGHGIURPUHYLHZE\RWKHUVXQOHVVWKH&RXUWRUGHUVRWKHUZLVH.

         IT IS FURTHER ORDERED that the only entities permitted to review documents or

  transcripts of proceedings placed under LQFDPHUDUHYLHZare the Parties, as defined in the

  Motion, and, in addition, the following entities shall also have access to matters placed under LQ

  FDPHUDUHYLHZunless the Court specifically rules otherwise: (1) the judge presiding over the

  case, (2) the law clerk to whom the matter is assigned internally by the presiding judge, (3) the

  Courtroom Deputy responsible for the matter, (4) the Clerk of the Court, and (5) the presiding

  judge and staff of any appellate tribunal.



                                                  ###


  Order submitted by:

  Jose C. Rodriguez
  Law Office of Jose C. Rodriguez
  1101 W. 34th St., #223
  Austin, TX 78702
  Tel.: (210) 738-8881
  Fax: (210) 738-8882
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                                                              United States Bankruptcy Court
                                                                Western District of Texas
In re:                                                                                                                 Case No. 22-50946-mmp
Lisa Marie Garza                                                                                                       Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0542-5                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 08, 2023                                               Form ID: pdfintp                                                           Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 10, 2023:
Recip ID                 Recipient Name and Address
db                     + Lisa Marie Garza, 9423 Valley Dale, San Antonio, TX 78250-3901
aty                    + Nathan C. Volheim, Atlas Consumer Law, 2500 S. Highland Ave., Ste 200, Lombard, IL 60148-7103

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
cr                        Email/Text: BNCnotices@bdfgroup.com
                                                                                        Mar 08 2023 22:23:00      Bank of America, N.A., c/o BDFTE, LLP, 4004
                                                                                                                  Belt Line Rd Ste. 100, Addison, TX 75001
cr                        Email/Text: sanantonio.bankruptcy@publicans.com
                                                                                        Mar 08 2023 22:23:00      Bexar County, c/o Don Stecker, Linebarger
                                                                                                                  Goggan Blair & Sampson, 112 E Pecan St, Suite
                                                                                                                  2200, San Antonio, TX 78205

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 10, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 8, 2023 at the address(es) listed
below:
Name                               Email Address
Abbey Ulsh Dreher
                                   on behalf of Creditor Bank of America N.A. wdecf@BDFGROUP.com, marshak@bdfgroup.com

Don Stecker
                                   on behalf of Creditor Bexar County don.stecker@lgbs.com
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                                       Notice Pg 4 of 4
District/off: 0542-5                                          User: admin                                                          Page 2 of 2
Date Rcvd: Mar 08, 2023                                       Form ID: pdfintp                                                    Total Noticed: 4
Jose C Rodriguez
                               jcrodlaw@gmail.com lettymreyna@gmail.com;jrodriguez@ecf.axosfs.com

Jose C. Rodriguez
                               on behalf of Trustee Jose C Rodriguez jcrodlaw@gmail.com jcrodriguezecf@gmail.com;lettymreyna@gmail.com

Nicholas C Inman
                               on behalf of Debtor Lisa Marie Garza NInman@Allmandlaw.com
                               dallasecf@allmandlaw.com;clerk@allmandlaw.com;ign@allmandlaw.com;r62733@notify.bestcase.com;allmandlaw@notificatio
                               ns.practicesavvy.com;allmanduser@gmail.com;dgaines@allmandlaw.com;AllmandLawFirmPLLC@jubileebk.net

United States Trustee - SA12
                               USTPRegion07.SN.ECF@usdoj.gov


TOTAL: 6
